1 F.3d 1233
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Daniel Lee MILLER, Plaintiff-Appellant,v.George BREEDEN, Defendant-Appellee.
    No. 93-6381.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  July 16, 1993.Decided:  August 3, 1993.
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  James H. Michael, Jr., District Judge.  (CA-91-254-R)
      Daniel Lee Miller, Appellant Pro Se.
      J. Ross Newell, III, TIMBERLAKE, SMITH, THOMAS &amp; MOSES, P.C., Staunton, Virginia, for Appellee.
      W.D.Va.
      AFFIRMED.
      Before NIEMEYER, HAMILTON, and WILLIAMS, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      Daniel Lee Miller appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983 (1988).  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Miller v. Breeden, No. CA-91-254-R (W.D. Va.  Apr. 5, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    